4/13/23, 5:51 PM                     Case 23-10328-pmm                 Doc 21-1 Filed 06/08/23          Entered
                                                                                              Live Database Area   06/08/23 12:15:18   Desc
                                                                       Exhibit -U.S.
                                                                                Proof  of Claim     Page
                                                                                     Bankruptcy Court       1  of 41

                                                                                Eastern District of Pennsylvania

Notice of Electronic Claims Filing

The following transaction was received from NICHOLAS, BRIAN on 4/13/2023 at 5:51 PM EST

File another claim
Case Name:                                 Jarred E. Fox
Case Number:                               23-10328-pmm
                                           MidFirst Bank
Creditor Name:                             999 NorthWest Grand Boulevard
                                           Oklahoma City, OK 73118
Claim Number:                              6 Claims Register
Amount Claimed: $180,775.97
Amount Secured: $180775.97
Amount Priority:

The following document(s) are associated with this transaction:

Document description:Main Document
Original filename:POC Draft- Fox.pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=1008166204 [Date=4/13/2023] [FileNumber=31246238-
0] [327a21c4ee6fa131bcbafc51088131723d8438ff2a420c8fa26b6cbc56caea5a8d
9f67577ae39f4def327f2bbc22cd13e47c00958a49c2ee6ae555b68f49c943]]
Document description:Exhibit 410a Payment History
Original filename:C:\fakepath\410a- Fox.pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=1008166204 [Date=4/13/2023] [FileNumber=31246238-
1] [78746f3ce3ff10eac6ff055fcf2eaf968d556c3ea070210f0442d6142ce11083ec
ac4877621fee0208967a64ca87c29228d93de4620cf738efa3eaf72919571c]]
Document description:Exhibit Escrow Analysis
Original filename:C:\fakepath\EA- Fox.pdf
Electronic document Stamp:
[STAMP bkecfStamp_ID=1008166204 [Date=4/13/2023] [FileNumber=31246238-
2] [7accca9b3f8073c623194b7ffc4adf5701903ecdde9cd3e1f99cc2aedfe1e1fa46
cb008d26cffea2a53e3a86e3523330f33459283c45520d4ae303575513209c]]
Document description:Exhibit Loan Documents

https://ecf.paeb.uscourts.gov/cgi-bin/FilingClaims.pl?137825055351054-L_1_3-1                                                                 1/2
4/13/23, 5:51 PM          Case 23-10328-pmm Doc 21-1 Filed 06/08/23                Entered
                                                                         Live Database Area   06/08/23 12:15:18   Desc
                                                  Exhibit
Original filename:C:\fakepath\Loan Documents- Fox.pdf     - Proof of Claim     Page    2  of 41
Electronic document Stamp:
[STAMP bkecfStamp_ID=1008166204 [Date=4/13/2023] [FileNumber=31246238-
3] [693b053041049701c1b3d33e35cce0dbe1593d92e5892d6b38e0d0bc5c35dfaad7
603ce28d308b2b9a9747d5a6702f6741d43045aa553947e300ab97fb05a824]]

23-10328-pmm Notice will be electronically mailed to:

MICHAEL PATRICK FARRINGTON on behalf of Creditor MIDFIRST BANK
mfarrington@kmllawgroup.com

LORRAINE GAZZARA DOYLE on behalf of Creditor Broker Solutions Inc. dba New American Funding
ldoyle@logs.com, cistewart@logs.com;LOGSECF@logs.com

ALAINE V. GRBACH on behalf of Debtor Jarred E. Fox
avgrbach@aol.com

United States Trustee
USTPRegion03.PH.ECF@usdoj.gov

SCOTT F. WATERMAN [Chapter 13]
ECFMail@ReadingCh13.com

23-10328-pmm Notice will not be electronically mailed to:




https://ecf.paeb.uscourts.gov/cgi-bin/FilingClaims.pl?137825055351054-L_1_3-1                                            2/2
             Case 23-10328-pmm                   Doc 21-1 Filed 06/08/23 Entered 06/08/23 12:15:18                                                          Desc
  Fill in this information to identify the case: Exhibit - Proof of Claim Page 3 of 41
  Fill in this information to identify the case:


      Debtor 1 Jarred E. Fox
      (Spouse, if filing)

      United States Bankruptcy Court for the EASTERN District of Pennsylvania


      Case number 23-10328 PMM




 Official Form 410
 Proof of Claim                                                                                                                                                         04/22

 Read the instructions before filling out this form. This form is for making a claim for payment in a bankruptcy case. Do not use this form to
 make a request for payment of an administrative expense. Make such a request according to 11 U.S.C. § 503.
 Filers must leave out or redact information that is entitled to privacy on this form or on any attached documents. Attach redacted copies of any
 documents that support the claim, such as promissory notes, purchase orders, invoices, itemized statements of running accounts, contracts, judgments,
 mortgages, and security agreements. Do not send original documents; they may be destroyed after scanning. If the documents are not available,
 explain in an attachment.
 A person who files a fraudulent claim could be fined up to $500,000, imprisoned for up to 5 years, or both. 18 U.S.C. §§ 152, 157, and 3571.

 Fill in all the information about the claim as of the date the case was filed. That date is on the notice of bankruptcy (Form 309) that you received.



 Part 1:     Identify the Claim


1. Who is the current                   MIDFIRST BANK
   creditor?
                                 Name of the current creditor (the person or entity to be paid for this claim)

                                 Other names the creditor used with the debtor

2. Has this claim been
   acquired from
                                 ❑ No
   someone else?                  Yes.      From whom?             The Money Source, Inc.

3. Where should notices          Where should notices to the creditor be sent?                               Where
                                                                                                              Whereshould
                                                                                                                      shouldpayments
                                                                                                                             paymentsto
                                                                                                                                      tothe
                                                                                                                                         thecreditor
                                                                                                                                             creditorbe
                                                                                                                                                      besent?
                                                                                                                                                         sent?(if(if
   and payments to the                                                                                       different)
                                                                                                              different)
   creditor be sent?            Secured
                                 MidFirstCreditor
                                          Bank                                                               Secured Creditor
                                 Name                                                                         Name
                                                                                                              Name
                                                                                                             Name                                                                          Nam
   Federal Rule of
   Bankruptcy Procedure         Street Name and Number                                                       Street Name and Number
                                 999 NorthWest    Grand Boulevard
   (FRBP) 2002(g)                Number    Street                                                             Number
                                                                                                               Number          Street
                                                                                                                                Street                                                    Num
                                 Number           Street                                                     Number               Street

                                 Oklahoma
                                 City     City, OK 73118
                                                      State                                 ZIP Code          City
                                                                                                               City                             State
                                                                                                                                                 State                 ZIP
                                                                                                                                                                        ZIPCode
                                                                                                                                                                            Code          City
                                 City             State            Zip Code                                  City                 State               Zip Code

                                 Contact phone                                                                   Contact
                                                                                                                  Contactphone
                                                                                                                          phone                                                           Cont
                                 1-800-654-4566
                                Client Email (if applicable)                                                     Client Email (if applicable)
                                 Contact phone                                                               Contact phone
                                 Contact email                                                                Contact
                                                                                                               Contactemail
                                                                                                                       email                                                              Cont


                                 Contact Email                                                               Contact Email

                                 Uniform claim identifier for electronic payments in chapter 13 (if you use one):
                                                                                                              Uniform claim identifier for electronic payments in chapter 13 (if you use one):

                                 Uniform
                                 __ __ __claim
                                          __ __identifier
                                                 __ __ __for__electronic
                                                               __ __ __ payments  in chapter
                                                                         __ __ __ __ __ __ __13__(if__
                                                                                                     you
                                                                                                       __use one):
                                                                                                          __ __ __
                                                                                                                __ __
                                                                                                                   __ __
                                                                                                                      __ __
                                                                                                                         __ __
                                                                                                                            __ __
                                                                                                                               __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __

                                 __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __ __

4. Does this claim amend          No
   one already filed?
                                 ❑ Yes.      Claim number on court claims registry (if known)                                              Filed on
                                                                                                                                                      MM   / DD     / YYYY



5. Do you know if anyone          No
   else has filed a proof        ❑ Yes.      Who made the earlier filing?
   of claim for this claim?



           Official Form 410                                                        Proof of Claim
              Case 23-10328-pmm                  Doc 21-1 Filed 06/08/23 Entered 06/08/23 12:15:18                                        Desc
                                                 Exhibit - Proof of Claim Page 4 of 41

 Part 2:      Give Information About the Claim as of the Date the Case Was Filed


6. Do you have any number        ❑ No
   you use to identify the        Yes. Last 4 digits of the debtor’s account or any number you use to identify the debtor           8478

    debtor?


7. How much is this claim? $180,775.97                                                     Does this amount include interest or other charges?

                                                                                No
                                                                                Yes Attach statement itemizing interest, fees, expenses, or other charges
                                                                                       required by Bankruptcy Rule 3001 (c)(2)(A).


8. What is the basis of the      Examples: Goods sold, money loaned, lease, services performed, personal injury or wrongful death, or credit card.
   claim?
                                 Attach redacted copies of any documents supporting the claim required by Bankruptcy Rule 3001(c).
                                 Limit disclosing information that is entitled to privacy, such as health care information.

                                 Money Loaned




9. Is all or part of the claim   ❑ No
   secured?                       Yes. The claim is secured by a lien on property.
                                               Nature of property: 94 East Church Street Stevens, PA 17578

                                            Real estate. If the claim is secured by the debtor’s principal residence, file a Mortgage Proof of Claim
                                                            Attachment (Official Form 410-A) with this Proof of Claim.
                                           ❑   Motor vehicle
                                           ❑   Other. Describe:



                                           Basis for perfection:     Deed of Trust, Mortgage, Note
                                           Attach redacted copies of documents, if any, that show evidence of perfection of a security interest (for
                                           example, a mortgage, lien, certificate of title, financing statement, or other document that shows the lien has
                                           been filed or recorded.)

                                           Value of property:                              $                      _
                                               Amount of the claim that is secured:        $180,775.97


                                              Amount of the claim that is unsecured: $                           _ (The sum of the secured and unsecured
                                                                                                                    amounts should match the amount in line 7.)

                                               Amount necessary to cure any default as of the date of the petition: $18,057.24


                                               Annual Interest Rate (when case was filed) 2.7500%



                                            Fixed
                                           ❑ Variable

10. Is this claim based on a        No
    lease?
                                 ❑ Yes. Amount necessary to cure any default as of the date of the petition.                  $


11. Is this claim subject to a      No
    right of setoff?
                                 ❑ Yes. Identify the property:




                                                                                                                                                242
 Official Form 410                                                   Proof of Claim                                                          page 2
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12. Is all or part of the claim     No
    entitled to priority under
    11 U.S.C. § 507(a)?            ❑ Yes. Check all that apply:                                                                                     Amount entitled to priority

   A claim may be partly             ❑ Domestic support obligations (including alimony and child support) under
   priority and partly                    11 U.S.C. § 507(a)(1)(A) or (a)(1)(B)
   nonpriority. For example,
   in some categories, the
   law limits the amount              ❑   Up to $3,350* of deposits toward purchase, lease, or rental of property or services for
   entitled to priority.                  personal, family, or household use. 11 U.S.C. § 507(a)(7).                                               $

                                      ❑   Wages, salaries, or commissions (up to $15,150*) earned within 180 days before the
                                          bankruptcy petition is filed or the debtor’s business ends, whichever is earlier.                        $
                                          11 U.S.C. § 507(a)(4).
                                      ❑   Taxes or penalties owed to governmental units. 11 U.S.C. § 507(a)(8).                                    $

                                      ❑   Contributions to an employee benefit plan. 11 U.S.C. § 507(a)(5).                                        $

                                      ❑   Other. Specify subsection of 11 U.S.C. § 507(a)( ) that applies.                                         $

                                      * Amounts are subject to adjustment on 4/01/25 and every 3 years after that for cases begun on or after the date of adjustment.


 Part 3:     Sign Below

 The person completing            Check the appropriate box:
 this proof of claim must
 sign and date it.                ❑    I am the creditor.
 FRBP 9011(b).
                                     I am the creditor’s attorney or authorized agent.
 If you file this claim           ❑    I am the trustee, or the debtor, or their authorized agent. Bankruptcy Rule 3004.
 electronically, FRBP
 5005(a)(2) authorizes courts     ❑    I am a guarantor, surety, endorser, or other codebtor. Bankruptcy Rule 3005.
 to establish local rules
 specifying what a signature
 is.                              I understand that an authorized signature on this Proof of Claim serves as an acknowledgment that when calculating the
                                  amount of the claim, the creditor gave the debtor credit for any payments received toward the debt.
 A person who files a
 fraudulent claim could be        I have examined the information in this Proof of Claim and have a reasonable belief that the information is true
 fined up to $500,000,            and correct.
 imprisoned for up to 5
 years, or both.
 18 U.S.C. §§ 152, 157, and       I declare under penalty of perjury that the foregoing is true and correct.
 3571.
                                  Executed on date        04/13/2023
                                                       MM / DD     /    YYYY

                                              /s/ Brian C. Nicholas
                                                       Signature

                                                 Print the name of the person who is completing and signing this claim:


                                                 Name                   Brian C. Nicholas
                                                                        First name                            Middle name                              Last name



                                               Title                   Bankruptcy Attorney

                                               Company                 KML Law Group, P.C.
                                                                       Identify the corporate servicer as the company if the authorized agent is a servicer.


                                                                       701 Market Street, Suite 5000
                                               Address                 Number            Street

                                                                       Philadelphia                                               PA               19106
                                                                       City                                                        State           ZIP Code

                                                   Contact             201-549-5366                                                 Email   bnicholas@kmllawgroup.com
                                                  phone




                                                                                                                                                                 243
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                                                 IN THE UNITED STATES BANKRUPTCY COURT
                                                FOR THE EASTERN DISTRICT OF PENNSYLVANIA


               Jarred E. Fox                                                            CHAPTER 13

                                                    Debtor(s)                    NO. 23-10328 PMM




                                                        CERTIFICATE OF SERVICE

                           I, the undersigned, attorney for MIDFIRST BANK do hereby certify that true and correct copies of
               the foregoing Proof of Claim have been served April 13, 2023, by electronic filing upon those listed below:

                    Attorney for Debtor(s)
                    ALAINE V. GRBACH
                    Alaine V. Grbach, Esquire
                    675 Estelle Drive
                    Lancaster, PA 17601

                    Bankruptcy Trustee
                    Scott F. Waterman
                    2901 St. Lawrence Ave.
                    Suite 100
                    Reading, PA 19606

                    Date: April 13, 2023

                                                                 /s/ Brian C. Nicholas
                                                                 Brian C. Nicholas
                                                                 Attorney I.D. 317240
                                                                 KML Law Group, P.C.
                                                                 BNY Mellon Independence Center
                                                                 701 Market Street, Suite 5000
                                                                 Philadelphia, PA 19106
                                                                 201-549-5366
                                                                 bnicholas@kmllawgroup.com




                                                                                                                                244
Official Form 410                                               Proof of Claim                                                page 3
                                                                                         Case 23-10328-pmm                             Doc 21-1 Filed 06/08/23 Entered 06/08/23 12:15:18                                                                      Desc
                                                                                                                                       Exhibit - Proof of Claim Page 7 of 41

             Part 1: Mortgage and Case Information                             Part 2: Total Debt Calculation                             Part 3: Arrearage as of Date of the Petition                          Part 4: Monthly Mortgage Payment                                   Starting Principal Balance:                  $0.00
Case Number                              23-10328         Principal Balance:                                         169,980.06 Principal & Interest Due:                              7,936.72   Principal & Interest:                                    721.52         Starting Accrued Interest Balance:
Debtor 1                                 JARRED E FOX     Interest Due:                                                4,341.47 Prepetition Fees Due:                                  4,184.63   Monthly Escrow:                                          458.26                   Starting Escrow Balance:                    $0.00
Debtor 2                                 0                Fees, Costs Due:                                             4,184.63 Escrow Deficiency for Funds                                       Private Mortgage Insurance:                              119.10            Starting Fees/Charges Balance:                     $0.00
Last 4 Digits to Identify                xxxx8478                                                                               Advanced:                                              3,269.81                                                                           Starting Unapplied Funds Balance:                     $0.00
Creditor                                 MidFirst Bank    Escrow Deficiency for Funds Advanced:                        3,269.81 Projected Escrow Shortage:                             3,666.08   Total Monthly Payment:                              1,298.88
Servicer                                 MidFirst Bank    Less Total Funds On Hand:                                    1,000.00 Less Funds On Hand:                                    1,000.00
Fixed Accrual/Daily                                       Deferred Balance:                                                0.00                                                                   Next Due Date:                                      3/1/2023           Loan Number:              59018478
Simple Interest/Other                    Fixed            Total Debt:                                                180,775.97 Total Prepetition Arrearage:                         18,057.24
Part 5: Loan Payment History from First Date of Default
                                                               Account Activity                                                                      How Funds Were Applied/Amount Incurred                                                                         Balance After Amount Received or Incurred
A.                  B.                 C.                 D.                  E.                            F.                  G.                   H.               I.                  J.                         K.                  L.                         M.                N.                   O.                           P.            Q.
Date                Contractual        Funds Received     Amount               Description                  Contractual Due Prin, Int & Esc           Amount to            Amount to              Amount to          Amount to Fees Unapplied                       Principal           Accrued                  Escrow Balance Fees/                 Unapplied
                    Payment                               Incurred                                          Date            Past Due                  Principal            Interest               Escrow             or Charges     Funds                           Balance             Interest                                Charges               Funds Balance
                    Amount                                                                                                  Balance                                                                                                                                                     Balance                                 Balance
      6/1/2021           1,257.78               0.00             0.00          Contractual Payment Due            6/1/2021             1257.78                0.00                 0.00                   0.00              0.00                   0.00                 173287.75                                     2991.53                 0.00           0.00
      6/1/2021             0.00                 0.00             20.00         Billed - Inspection Fee                                 1257.78                0.00                 0.00                   0.00              20.00                  0.00                 173287.75                                     2991.53                20.00           0.00
      6/4/2021                                                                 MIP Paid                                                1257.78                                                          -121.82                                                         173287.75                                     2869.71                20.00           0.00
      6/16/2021                                                  28.86         Late Fees                                               1257.78                                                                              28.86                                       173287.75                                     2869.71                48.86           0.00
      7/1/2021           1,257.78                                              Contractual Payment Due            7/1/2021             2515.56                                                                                                                          173287.75                                     2869.71                48.86           0.00
      7/2/2021                                                                 MIP Paid                                                2515.56                                                          -121.82                                                         173287.75                                     2747.89                48.86           0.00
      7/12/2021                                                                Taxes Paid                                              2515.56                                                         -2,610.66                                                        173287.75                                      137.23                48.86           0.00
      7/16/2021                                                  28.86         Late Fees                                               2515.56                                                                              28.86                                       173287.75                                      137.23                77.72           0.00
      7/28/2021                                1300.00                         Funds Received                                          2515.56                                                                                                                          173287.75                                      137.23                77.72           0.00
      7/28/2021                                                                Payments Posting                  *6/01/2021            1257.78              324.40               397.12                 536.26                                                          172963.35                                      673.49                77.72           0.00
      7/28/2021                                                                Suspense Transaction                                    1257.78                                                                                                     42.22                172963.35                                      673.49                77.72           42.22
      8/1/2021           1,257.78                                              Contractual Payment Due            8/1/2021             2515.56                                                                                                                          172963.35                                      673.49                77.72           42.22
      8/2/2021                                                   20.00         Billed - Inspection Fee                                 2515.56                                                                              20.00                                       172963.35                                      673.49                97.72           42.22
      8/4/2021                                                                 MIP Paid                                                2515.56                                                          -119.10                                                         172963.35                                      554.39                97.72           42.22
      8/10/2021                                                                Taxes Paid                                              2515.56                                                          -674.98                                                         172963.35                                     -120.59                97.72           42.22
      8/16/2021                                                  28.86         Late Fees                                               2515.56                                                                              28.86                                       172963.35                                     -120.59                126.58          42.22
      9/1/2021           1,188.79                                              Contractual Payment Due            9/1/2021             3704.35                                                                                                                          172963.35                                     -120.59                126.58          42.22
      9/3/2021                                                                 MIP Paid                                                3704.35                                                          -119.10                                                         172963.35                                     -239.69                126.58          42.22
      9/14/2021                                                  20.00         Billed - Inspection Fee                                 3704.35                                                                              20.00                                       172963.35                                     -239.69                146.58          42.22
      9/16/2021                                                  28.86         Late Fees                                               3704.35                                                                              28.86                                       172963.35                                     -239.69                175.44          42.22
      10/1/2021          1,188.79                                              Contractual Payment Due           10/1/2021             4893.14                                                                                                                          172963.35                                     -239.69                175.44          42.22
      10/4/2021                                                                MIP Paid                                                4893.14                                                          -119.10                                                         172963.35                                     -358.79                175.44          42.22
     10/15/2021                                                  20.00         Billed - Inspection Fee                                 4893.14                                                                              20.00                                       172963.35                                     -358.79                195.44          42.22
     10/18/2021                                                  28.86         Late Fees                                               4893.14                                                                              28.86                                       172963.35                                     -358.79                224.30          42.22
      11/1/2021          1,245.04                                              Contractual Payment Due           11/1/2021             6138.18                                                                                                                          172963.35                                     -358.79                224.30          42.22
      11/4/2021                                                                MIP Paid                                                6138.18                                                          -119.10                                                         172963.35                                     -477.89                224.30          42.22
     11/16/2021                                                  28.86         Late Fees                                               6138.18                                                                              28.86                                       172963.35                                     -477.89                253.16          42.22
     11/18/2021                                                  20.00         Billed - Inspection Fee                                 6138.18                                                                              20.00                                       172963.35                                     -477.89                273.16          42.22
      12/1/2021          1,245.04                                              Contractual Payment Due           12/1/2021             7383.22                                                                                                                          172963.35                                     -477.89                273.16          42.22
      12/3/2021                                                                MIP Paid                                                7383.22                                                          -119.10                                                         172963.35                                     -596.99                273.16          42.22
     12/16/2021                                                  28.86         Late Fees                                               7383.22                                                                              28.86                                       172963.35                                     -596.99                302.02          42.22
     12/17/2021                                                  20.00         Billed - Inspection Fee                                 7383.22                                                                              20.00                                       172963.35                                     -596.99                322.02          42.22
      1/1/2022           1,245.04                                              Contractual Payment Due            1/1/2022             8628.26                                                                                                                          172963.35                                     -596.99                322.02          42.22
      1/4/2022                                                                 MIP Paid                                                8628.26                                                          -119.10                                                         172963.35                                     -716.09                322.02          42.22
      1/18/2022                                                  28.86         Late Fees                                               8628.26                                                                              28.86                                       172963.35                                     -716.09                350.88          42.22
      1/21/2022                                                  20.00         Billed - Inspection Fee                                 8628.26                                                                              20.00                                       172963.35                                     -716.09                370.88          42.22
      2/1/2022           1,245.04                                              Contractual Payment Due            2/1/2022             9873.30                                                                                                                          172963.35                                     -716.09                370.88          42.22
      2/4/2022                                                                 MIP Paid                                                9873.30                                                          -119.10                                                         172963.35                                     -835.19                370.88          42.22
      2/16/2022                                                  28.86         Late Fees                                               9873.30                                                                              28.86                                       172963.35                                     -835.19                399.74          42.22
      2/18/2022                                                  20.00         Billed - Inspection Fee                                 9873.30                                                                              20.00                                       172963.35                                     -835.19                419.74          42.22
      2/23/2022                                                                MIP Paid                                                9873.30                                                          -150.42                                                         172963.35                                     -985.61                419.74          42.22
      3/1/2022           1,245.04                                              Contractual Payment Due            3/1/2022            11118.34                                                                                                                          172963.35                                     -985.61                419.74          42.22
      3/4/2022                                                                 MIP Paid                                               11118.34                                                          -119.10                                                         172963.35                                    -1104.71                419.74          42.22
      3/16/2022                                                  28.86         Late Fees                                              11118.34                                                                              28.86                                       172963.35                                    -1104.71                448.60          42.22
      3/21/2022                               11525.86                         Funds Received                                         11118.34                                                                                                                          172963.35                                    -1104.71                448.60          42.22
      3/21/2022                                                                Suspense Transaction                                   11118.34                                                                                                11525.86                  172963.35                                    -1104.71                448.60        11568.08
      3/21/2022                                                                Payments Posting                   *7/01/2021           9860.56              325.15               396.37                 536.26                                -1257.78                  172638.20                                     -568.45                448.60        10310.30
      3/21/2022                                                                Payments Posting                   *8/01/2021           8602.78              325.89               395.63                 536.26                                -1257.78                  172312.31                                      -32.19                448.60         9052.52
      3/21/2022                                                                Payments Posting                   *9/01/2021           7413.99              326.64               394.88                 467.27                                -1188.79                  171985.67                                      435.08                448.60         7863.73
      3/21/2022                                                                Payments Posting                  *10/01/2021           6225.20              327.39               394.13                 467.27                                -1188.79                  171658.28                                      902.35                448.60         6674.94
      3/21/2022                                                                Payments Posting                  *11/01/2021           4980.16              328.14               393.38                 523.52                                -1245.04                  171330.14                                     1425.87                448.60         5429.90
      3/21/2022                                                                Payments Posting                  *12/01/2021           3735.12              328.89               392.63                 523.52                                -1245.04                  171001.25                                     1949.39                448.60         4184.86
      3/21/2022                                                                Payments Posting                   *1/01/2022           2490.08              329.64               391.88                 523.52                                -1245.04                  170671.61                                     2472.91                448.60         2939.82
      3/21/2022                                                                Payments Posting                   *2/01/2022           1245.04              330.40               391.12                 523.52                                -1245.04                  170341.21                                     2996.43                448.60         1694.78
      3/21/2022                                                                Payments Posting                   *3/01/2022            0.00                331.15               390.37                 523.52                                -1245.04                  170010.06                                     3519.95                448.60         449.74
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A.                B.              C.               D.             E.                         F.               G.               H.           I.          J.               K.             L.              M.               N.         O.              P.             Q.
Date              Contractual     Funds Received   Amount         Description                Contractual Due Prin, Int & Esc   Amount to    Amount to   Amount to        Amount to Fees Unapplied       Principal        Accrued    Escrow Balance Fees/           Unapplied
                  Payment                          Incurred                                  Date            Past Due          Principal    Interest    Escrow           or Charges     Funds           Balance          Interest                  Charges         Funds Balance
                  Amount                                                                                     Balance                                                                                                     Balance                   Balance
      3/21/2022                                         -247.52   Late Fees                                          0.00                                                     -247.52        -247.52         170010.06                    3519.95         201.08        202.22
      3/21/2022                                         -160.00   Fees Paid                                          0.00                                                     -160.00        -160.00         170010.06                    3519.95         41.08          42.22
      3/21/2022                                          -28.86   Late Fees                                          0.00                                                      -28.86                        170010.06                    3519.95         12.22          42.22
      3/22/2022                                          250.00   Billed -FC Title Cost                              0.00                                                      250.00                        170010.06                    3519.95         262.22         42.22
      3/22/2022                                          -12.22   Late Fees                                          0.00                                                      -12.22        -12.22          170010.06                    3519.95         250.00         30.00
      3/22/2022                                                   Principal Curtailment                              0.00           30.00                                                    -30.00          169980.06                    3519.95         250.00         0.00
      3/24/2022                                         705.00    Billed - FC Attorney Fee                           0.00                                                     705.00                         169980.06                    3519.95         955.00         0.00
      3/28/2022                                                   Taxes Paid                                         0.00                                    -166.46                                         169980.06                    3353.49         955.00         0.00
      3/28/2022                                                   Taxes Paid                                         0.00                                    -660.31                                         169980.06                    2693.18         955.00         0.00
      4/1/2022         1,245.04                                   Contractual Payment Due         4/1/2022          1245.04                                                                                  169980.06                    2693.18         955.00         0.00
      4/4/2022                                                    MIP Paid                                          1245.04                                  -119.10                                         169980.06                    2574.08         955.00         0.00
      4/18/2022                                          28.86    Late Fees                                         1245.04                                                    28.86                         169980.06                    2574.08         983.86         0.00
      5/1/2022         1,245.04                                   Contractual Payment Due         5/1/2022          2490.08                                                                                  169980.06                    2574.08         983.86         0.00
      5/4/2022                                                    MIP Paid                                          2490.08                                  -119.10                                         169980.06                    2454.98         983.86         0.00
      5/16/2022                                          28.86    Late Fees                                         2490.08                                                    28.86                         169980.06                    2454.98        1012.72         0.00
      5/27/2022                                                   Insurance Paid                                    2490.08                                  -1,275.00                                       169980.06                    1179.98        1012.72         0.00
      6/1/2022         1,245.04                                   Contractual Payment Due         6/1/2022          3735.12                                                                                  169980.06                    1179.98        1012.72         0.00
      6/3/2022                                                    MIP Paid                                          3735.12                                  -119.10                                         169980.06                    1060.88        1012.72         0.00
      6/13/2022                                          20.00    Billed - Inspection Fee                           3735.12                                                    20.00                         169980.06                    1060.88        1032.72         0.00
      6/16/2022                                          28.86    Late Fees                                         3735.12                                                    28.86                         169980.06                    1060.88        1061.58         0.00
      6/30/2022                                          20.00    Billed - Inspection Fee                           3735.12                                                    20.00                         169980.06                    1060.88        1081.58         0.00
      7/1/2022         1,245.04                                   Contractual Payment Due         7/1/2022          4980.16                                                                                  169980.06                    1060.88        1081.58         0.00
      7/5/2022                                                    MIP Paid                                          4980.16                                   -119.10                                        169980.06                    941.78         1081.58         0.00
      7/18/2022                                                   Taxes Paid                                        4980.16                                   -697.93                                        169980.06                    243.85         1081.58         0.00
      7/18/2022                                                   Taxes Paid                                        4980.16                                  -2,699.42                                       169980.06                   -2455.57        1081.58         0.00
      7/18/2022                                          28.86    Late Fees                                         4980.16                                                    28.86                         169980.06                   -2455.57        1110.44         0.00
      7/27/2022                        1000.00                    Funds Received                                    4980.16                                                                                  169980.06                   -2455.57        1110.44         0.00
      7/27/2022                                                   Suspense Transaction                              4980.16                                                                  1000.00         169980.06                   -2455.57        1110.44        1000.00
      8/1/2022         1,245.04                                   Contractual Payment Due         8/1/2022          6225.20                                                                                  169980.06                   -2455.57        1110.44        1000.00
      8/4/2022                                                    MIP Paid                                          6225.20                                  -116.32                                         169980.06                   -2571.89        1110.44        1000.00
      8/11/2022                                          20.00    Billed - Inspection Fee                           6225.20                                                    20.00                         169980.06                   -2571.89        1130.44        1000.00
      8/16/2022                                          28.86    Late Fees                                         6225.20                                                    28.86                         169980.06                   -2571.89        1159.30        1000.00
      8/31/2022                                          20.00    Billed - Inspection Fee                           6225.20                                                    20.00                         169980.06                   -2571.89        1179.30        1000.00
      9/1/2022         1,245.04                                   Contractual Payment Due         9/1/2022          7470.24                                                                                  169980.06                   -2571.89        1179.30        1000.00
      9/2/2022                                                    MIP Paid                                          7470.24                                  -116.32                                         169980.06                   -2688.21        1179.30        1000.00
      9/16/2022                                          28.86    Late Fees                                         7470.24                                                    28.86                         169980.06                   -2688.21        1208.16        1000.00
      9/29/2022                                          75.00    Billed - FC Title Cost                            7470.24                                                    75.00                         169980.06                   -2688.21        1283.16        1000.00
      10/1/2022        1,245.04                                   Contractual Payment Due         10/1/2022         8715.28                                                                                  169980.06                   -2688.21        1283.16        1000.00
      10/4/2022                                                   MIP Paid                                          8715.28                                  -116.32                                         169980.06                   -2804.53        1283.16        1000.00
      10/6/2022                                         1360.00   Billed - FC Attorney Fee                          8715.28                                                   1360.00                        169980.06                   -2804.53        2643.16        1000.00
     10/27/2022                                          20.00    Billed - Inspection Fee                           8715.28                                                    20.00                         169980.06                   -2804.53        2663.16        1000.00
     10/28/2022                                         340.00    Billed - FC Attorney Fee                          8715.28                                                   340.00                         169980.06                   -2804.53        3003.16        1000.00
     10/28/2022                                         248.25    Billed - FC Filing Cost                           8715.28                                                   248.25                         169980.06                   -2804.53        3251.41        1000.00
     10/28/2022                                         250.00    Billed - FC Filing Cost                           8715.28                                                   250.00                         169980.06                   -2804.53        3501.41        1000.00
      11/1/2022        1,377.18                                   Contractual Payment Due         11/1/2022        10092.46                                                                                  169980.06                   -2804.53        3501.41        1000.00
      11/4/2022                                                   MIP Paid                                         10092.46                                  -116.32                                         169980.06                   -2920.85        3501.41        1000.00
     11/17/2022                                         -114.50   Fees Waived                                      10092.46                                                   -114.50                        169980.06                   -2920.85        3386.91        1000.00
     11/25/2022                                          680.00   Billed - FC Attorney Fee                         10092.46                                                    680.00                        169980.06                   -2920.85        4066.91        1000.00
      12/1/2022        1,377.18                                   Contractual Payment Due         12/1/2022        11469.64                                                                                  169980.06                   -2920.85        4066.91        1000.00
      12/2/2022                                          20.00    Billed - Inspection Fee                          11469.64                                                    20.00                         169980.06                   -2920.85        4086.91        1000.00
      12/2/2022                                                   MIP Paid                                         11469.64                                  -116.32                                         169980.06                   -3037.17        4086.91        1000.00
     12/16/2022                                          28.86    Late Fees                                        11469.64                                                    28.86                         169980.06                   -3037.17        4115.77        1000.00
     12/22/2022                                          20.00    Billed - Inspection Fee                          11469.64                                                    20.00                         169980.06                   -3037.17        4135.77        1000.00
      1/1/2023         1,377.18                                   Contractual Payment Due         1/1/2023         12846.82                                                                                  169980.06                   -3037.17        4135.77        1000.00
      1/4/2023                                                    MIP Paid                                         12846.82                                  -116.32                                         169980.06                   -3153.49        4135.77        1000.00
      1/17/2023                                          28.86    Late Fees                                        12846.82                                                    28.86                         169980.06                   -3153.49        4164.63        1000.00
      2/1/2023         1,377.18                                   Contractual Payment Due         2/1/2023         14224.00                                                                                  169980.06                   -3153.49        4164.63        1000.00
      2/3/2023                                           20.00    Billed - Inspection Fee                          14224.00                                                    20.00                         169980.06                   -3153.49        4184.63        1000.00
      2/3/2023                                                    MIP Paid                                         14224.00                                  -116.32                                         169980.06                   -3269.81        4184.63        1000.00
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                           YOUR LOAN NUMBER :

                 *** POC DISCLOSURE ESCROW ACCOUNT HISTORY ***

          DATE          TRANSACTION TYPE                AMOUNT        ESC BAL

          3/28/2022     PROPERTY TAX PAYMENT            ($166.46)     $3,353.49

          3/28/2022     PROPERTY TAX PAYMENT            ($660.31)     $2,693.18

          4/4/2022      MORTGAGE INSURANCE PREMIUM      ($119.10)     $2,574.08

          5/4/2022      MORTGAGE INSURANCE PREMIUM      ($119.10)     $2,454.98

          5/27/2022     PROPERTY INSURANCE PAYMENT      ($1,275.00)   $1,179.98

          6/3/2022      MORTGAGE INSURANCE PREMIUM      ($119.10)     $1,060.88

          7/5/2022      MORTGAGE INSURANCE PREMIUM      ($119.10)     $941.78

          7/18/2022     PROPERTY TAX PAYMENT            ($697.93)     $243.85

          7/18/2022     PROPERTY TAX PAYMENT            ($2,699.42)   ($2,455.57)

          8/4/2022      MORTGAGE INSURANCE PREMIUM      ($116.32)     ($2,571.89)

          9/2/2022      MORTGAGE INSURANCE PREMIUM      ($116.32)     ($2,688.21)

          10/4/2022     MORTGAGE INSURANCE PREMIUM      ($116.32)     ($2,804.53)

          11/4/2022     MORTGAGE INSURANCE PREMIUM      ($116.32)     ($2,920.85)

          12/2/2022     MORTGAGE INSURANCE PREMIUM      ($116.32)     ($3,037.17)

          1/4/2023      MORTGAGE INSURANCE PREMIUM      ($116.32)     ($3,153.49)

          2/3/2023      MORTGAGE INSURANCE PREMIUM      ($116.32)     ($3,269.81)
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